                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION

JASON KESSLER, et al.,              )
                                    )
                  Plaintiffs,       )
                                    )
v.                                  )              Case No. 3:18-cv-00107
                                    )
CITY OF CHARLOTTESVILLE, et al., )
                                    )
                  Defendants.       )
___________________________________ )

                               NOTICE OF APPEARANCE

       Please note the appearance of Erin R. McNeill as counsel for the defendant, Becky

Crannis-Curl.

                                           Respectfully submitted,

                                           BECKY CRANNIS-CURL

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2019, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send a notification of such filing (NEF) to all

counsel of record.

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